United States District Court
For the Northem District of Califomia

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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

JOY CHFN, et al., No. C -13-02704 EDL
Plaintiffs, ORDER REQUIRING JOINT LETTER
UPDATE

V.

BANK OF AI\/IERICA,

Defendant.

The hearing on Plaintiffs’ Motion to Compel is set for May 27, 2014. No later than noon on
May 21, 2014, the parties shall file a joint letter updating the Court as to any narrowing of the
discovery disputes at issue in the motion since the briefs Were filed.

IT IS SO ORDERED.

Dated: Mayg_, 2014 §L"'l ‘V{/` f)LFi/\..Q/j3

ELIZABETH D. LAP(_’)RTE
United States Magistrate Judge

 

